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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                FORT WORTH DIVISION

 RICHARD W. DEOTTE et al.,                        §
                                                  §
                                                  §
       Plaintiffs,                                §
                                                  §
 v.                                               §   Civil Action No. 4:18-cv-00825-O
                                                  §
 ALEX M. AZAR II et al.,                          §
                                                  §
       Defendants.                                §

                     ORDER AMENDING CLASS-CERTIFICATION ORDER
                           AND SETTING BRIEFING SCHEDULE
         Before the Court are the Parties’ Joint Status Report, ECF No. 35, filed April 5, 2019, and

Plaintiffs’ Unopposed Motion to Amend, ECF No. 36, filed April 9, 2019.

I.       STATUS REPORT

         In their Joint Status Report, ECF No. 35, the Parties agree to and propose the following

briefing schedule and treatment of the issues, which the Court adopts:

             •   Defendants are ORDERED to respond to Plaintiffs’ motion for summary judgment

                 and permanent injunction on or before Monday, April 15, 2019.

             •   Plaintiffs are ORDERED to reply on or before Friday, April 19, 2019.

         As agreed by the Parties, Plaintiffs’ motion for preliminary injunction, ECF No. 21, will

be treated as a motion for summary judgment and permanent injunction, and all papers filed in

support of the motion for preliminary injunction—including the brief in support, ECF No. 21-1,

the proposed order, ECF No. 21-2, and the supporting appendix, ECF No. 22—will be treated as

supporting documents for Plaintiffs’ motion for summary judgment and permanent injunction.
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II.      UNOPPOSED MOTION TO AMEND

         In their unopposed motion to amend, Plaintiffs ask “the Court to appoint class counsel”

and “include language that explicitly defines the two certified classes as well as the ‘class claims,

issues, or defenses,’ as required by Rule 23(c)(1)(B).” Mot. Amend 1, ECF No. 36. Having

considered the unopposed motion, the Court finds that it should be and is hereby GRANTED.

         Accordingly, the Court CERTIFIES the following two classes under Federal Rule of Civil

Procedure 23(b)(2) and AMENDS the March 30, 2019 Certification Order, ECF No. 33, to include

the same:

         A.     The Braidwood Class

         The Court certifies the following class under Federal Rule of Civil Procedure 23(b)(2):

         Every current and future employer in the United States that objects, based on its
         sincerely held religious beliefs, to establishing, maintaining, providing, offering, or
         arranging for: (i) coverage or payments for some or all contraceptive services; or
         (ii) a plan, issuer, or third-party administrator that provides or arranges for such
         coverage or payments.

         Braidwood Management Inc. is appointed class representative. Jonathan F. Mitchell,

Charles W. Fillmore, and H. Dustin Fillmore are appointed class counsel under Federal Rule of

Civil Procedure 23(g). The class claim is whether the Contraceptive Mandate, codified at 42 U.S.C.

§ 300gg–13(a)(4), 45 C.F.R. § 147.130(a)(1)(iv), 29 C.F.R. § 2590.715– 2713(a)(1)(iv), and 26

C.F.R. § 54.9815–2713(a)(1)(iv), violates the Religious Freedom Restoration Act as applied to

employers who hold sincere religious objections to some or all contraceptive services.

         B.     The DeOtte Class

         The Court certifies the following class under Federal Rule of Civil Procedure 23(b)(2):

         All current and future individuals in the United States who: (1) object to coverage
         or payments for some or all contraceptive services based on sincerely held religious
         beliefs; and (2) would be willing to purchase or obtain health insurance that
         excludes coverage or payments for some or all contraceptive services from a health
         insurance issuer, or from a plan sponsor of a group plan, who is willing to offer a
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       separate benefit package option, or a separate policy, certificate, or contract of
       insurance that excludes coverage or payments for some or all contraceptive
       services.

       Richard W. DeOtte is appointed class representative. Jonathan F. Mitchell, Charles W.

Fillmore, and H. Dustin Fillmore are appointed class counsel under Federal Rule of Civil

Procedure 23(g). The class claim is whether the Contraceptive Mandate, codified at 42 U.S.C.

§ 300gg–13(a)(4), 45 C.F.R. § 147.130(a)(1)(iv), 29 C.F.R. § 2590.715– 2713(a)(1)(iv), and 26

C.F.R. § 54.9815–2713(a)(1)(iv), violates the Religious Freedom Restoration Act by preventing

individuals who hold sincere religious objections to some or all contraceptive services from

purchasing health insurance that excludes coverage of those objectionable contraceptive services.

       SO ORDERED on this 11th day of April, 2019.



                                                 _____________________________________
                                                 Reed O’Connor
                                                 UNITED STATES DISTRICT JUDGE
